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                             No. 23-3166

  UNITED STATES COURT OF APPEALS FOR THE THIRD
                    CIRCUIT

     PENNSYLVANIA CONFERENCE OF THE NAACP, et al.,

                                                       Plaintiffs-Appellees,

                                     v.

         SECRETARY OF THE COMMONWEALTH, et al.,

                                                     Defendants-Appellees,

          REPUBLICAN NATIONAL COMMITTEE, et al.,

                                                    Intervenors-Appellants.

  On Appeal from the United States District Court for the Western
         District of Pennsylvania, Case No. 1:22-cv-339

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                            INTRODUCTION

     Appellants,      including   the   Republican    National     Committee

(collectively the “RNC”), seek to disenfranchise thousands of indisputably

qualified voters across Pennsylvania for failing to properly write a date

that has no function in the administration of Pennsylvania’s elections.

     Federal law prohibits this result. See 52 U.S.C. § 10101(a)(2)(B).

That statute forbids denying the right to vote based on paperwork errors

that, as those at issue here, are not material in determining whether an

individual is qualified to vote under state law.

     The RNC does not meaningfully dispute that the straightforward

application of the statute’s plain text requires affirming the District

Court’s judgment. Rather, it implores the Court to interpret

§ 10101(a)(2)(B) based not on what it says, but on snippets of legislative

history and a collection of interpretive canons that it wields to avoid the

manifest meaning of the law Congress passed. But each successive

attempt to overcome the statute’s clear words fails, as the canons and

other extra-textual techniques the RNC employs all depend on textual

ambiguity not present here, and considerations such as legislative
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history and structure merely confirm that the District Court’s plain-text

interpretation of the statute is the correct one.

     A unanimous panel of this Court has already resolved the central

question in this case, concluding, just as the District Court did below,

that § 10101(a)(2)(B) prohibits rejecting the sorts of ballots at issue here

because that statute “ensures qualified voters are not disenfranchised by

meaningless requirements that prevent eligible voters from casting their

ballots but have nothing to do with determining one’s qualifications to

vote.” Migliori v. Lehigh Cnty. Bd. of Elections, 36 F.4th 153, 164 (3d Cir.

2022), vacated as moot by Ritter v. Migliori, 143 S. Ct. 297 (2022) (cleaned

up); id. at 164-66 (Matey, J., concurring).

     The RNC warns that affirming the District Court, and reaffirming

Migliori, will yield electoral chaos, but that warning ignores limitations

in § 10101(a)(2)(B)’s text that put out of reach the laws the RNC claims

are in jeopardy. Affirming the District Court will do no more than

reiterate that a federal law—one squarely within Congress’s powers to

regulate elections—does not allow states to impose immaterial

paperwork requirements and then deny the right to vote for failing to

comply. Important election regulations will remain undisturbed.



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      Affirming the District Court will restore the uniformity in

Pennsylvania’s elections lost after the RNC initiated Ball v. Chapman—

an action leading to the Pennsylvania Supreme Court’s decision that

state law requires rejecting mail ballots returned with a declaration date

error (but explicitly leaving unresolved the federal question raised here).

289 A.3d 1, 28 (Pa. 2023). As the record here shows, since Ball, counties

have followed inconsistent practices when deciding which ballots to

reject.

      Words mean what they say. Application of the relevant words here

is not complicated. The District Court correctly concluded, as this Court

has before, that § 10101(a)(2)(B)’s plain meaning forbids rejecting ballots

because the voter failed to correctly write an immaterial date on their

ballot-return envelope. State-Appellees, comprising Pennsylvania’s chief

election official and the election boards of the Commonwealth’s five

largest counties, have a strong interest in seeing that legal voters have

their votes counted, while ensuring that important voting regulations are

protected so that elections are administered smoothly and securely. The

District Court’s correct application of § 10101(a)(2)(B) furthers these

goals, and its judgment should be affirmed.



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                           STATEMENT OF THE ISSUES

     1.     Does federal law forbid rejecting timely returned mail ballots
            submitted by indisputably qualified voters merely because the
            voter neglected to handwrite a date that has no function in
            Pennsylvania’s elections? App. 73-85.

     2.     Does certification of an election never implicated by this appeal
            have any effect on this Court’s jurisdiction? Dkt. 43.1

                     STATEMENT OF RELATED CASES

          The issue presented in this appeal was before this Court in Migliori

v. Lehigh County Board of Elections, No. 21-1499.

                           STATEMENT OF THE CASE

I.        Voting in Pennsylvania

          Pennsylvanians are qualified to vote if they: (1) are at least 18 years

old on the day of the election; (2) have been a U.S. citizen for at least one

month prior to the election; (3) have lived in Pennsylvania and in their

election district for at least 30 days prior to the election; and (4) are not

imprisoned for a felony conviction. Pa. Const. art. VII, § 1; 25 P.S. § 2811;

25 Pa.C.S. § 1301(a).2 Each county board first assesses compliance with



          1 “Dkt. #” are references to docket entries in this appeal.


          2 See also Mixon v. Commonwealth, 759 A.2d 442, 451 (Pa. Cmwlth.

Ct. 2000), aff’d, 783 A.2d 763 (2001) (holding that individuals with felony
convictions, other than those currently incarcerated, may register to
vote); 1972 Op. Atty. Gen. No. 121 (concluding that Dunn v. Blumstein,


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these conditions when an individual applies to register to vote. 25 Pa.C.S.

§ 1328. Qualified, registered voters may vote in person or by mail.

     A.    The Relevant History of Mail Voting

     When the Election Code was enacted in 1937, absentee voters

(limited to select active military members) were required to complete

their ballots before Election Day, but those ballots could be counted even

if they arrived after Election Day. Act of June 3, 1937, P.L. 1333, No. 320,

§§ 1317, 1323-1330, Pa. App. 6-7, 10.

     In 1945, the General Assembly added an instruction that absentee

voters write a date on their ballot’s return envelope. Act of Mar. 9, 1945,

P.L. 29, No. 17, sec. 10, § 1306, Pa. App. 36-37. The General Assembly

also added a direction that counties “set aside” mail ballots with return

envelopes bearing “a date later than the date of the election.” Id. That

language replaced an earlier requirement that county boards “set aside”

any ballot with a return envelope bearing a postmark later than Election

Day. Act of Aug. 1, 1941, P.L. 672, No. 273, sec. 4, § 1307, Pa. App. 19.



405 U.S. 330 (1972), prohibits the enforcement of certain durational
residency requirements longer than 30 days); U.S. Const. amend. XXVI
(prohibiting denial of right to vote to citizens 18 years of age or older on
account of age).


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     In 1968, the General Assembly, for the first time, set a single

deadline for a voter to complete a mail ballot, and for a county board to

receive it. Act of Dec. 11, 1968, P.L. 1183, No. 375, sec. 8, §§ 1306(a),

1308(a), Pa. App. 43, 47.

     The General Assembly then removed the requirement that counties

set aside ballots based on the date written on the ballot-return envelope.

Id. § 1308(c), Pa. App. 47. Doing so reflected that, with a single, common

deadline for completion and receipt of a mail ballot, the handwritten

declaration date no longer served its purpose.

     B.    Counties Do Not Use a Declaration Date for Any
           Purpose

     From 1968 to 2019, mail voting provisions were materially

unchanged.

     In 2019, Pennsylvania made mail voting available to all registered

eligible voters. See 25 P.S. § 3150.11. Pennsylvania voters may

accordingly cast their vote in person or, alternatively, submit: (i) an

absentee ballot, which is available to certain voters, id. § 3146.1; or (ii) a

mail-in ballot, which is available to all voters, id. § 3150.11. In relevant

form and function, these two types of ballots (collectively, “mail ballots”)

are identical.


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      To vote by mail ballot, a registered voter must apply to their county

board and provide, among other things, their name, address, date of

birth, proof of identification, and the amount of time they have resided in

their election district. Id. §§ 3146.2, 3150.12. County boards review

applications, verify the applicant’s proof of identification, and compare

the voter’s information in the application with information the voter

provided during registration. Id. §§ 3146.2b, 3150.12b. The registration

information is housed in county-specific voter rolls within the Statewide

Uniform Registry of Electors (“SURE”) system. App. 56. Through this

process, county boards reaffirm that the applicant meets the

qualifications to vote in Pennsylvania.

      County boards send approved voters a package with a mail ballot,

a “secrecy envelope,” and a larger pre-addressed return envelope. 25 P.S.

§§ 3146.4, 3150.14. Each return envelope has printed on it a declaration

that the voter is qualified to vote in the election and has not already

voted. Id. §§ 3146.4, 3150.14. It also had printed a SURE system barcode

unique both to the voter requesting the mail ballot and the election. App.

57.




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     After receiving the package, voters complete their ballot, place it

into the secrecy envelope, and then place the secrecy envelope into the

return envelope. 25 P.S. §§ 3146.6(a), 3150.16(a). The Election Code

directs that voters “shall then fill out, date and sign the [return-envelope]

declaration. Id. §§ 3146.6(a), 3150.16(a).

     Voters must complete and return their ballot before 8:00 p.m. on

Election Day. Id. §§ 3146.6(a), 3150.16(a). During canvassing, county

boards must set aside and not count mail ballots received after that same

time. Id. § 3146.8(g)(1)(ii). For this reason, upon receipt, county boards

stamp or mark each return envelope with the date and time the ballot

was received. App. 58. Counties also scan the barcode on the return

envelope using the SURE system, which creates an electronic record of

the date and time the ballot was received. Id. During the canvassing

process, county boards use these independent means of verifying a mail

ballot was received by the statutory deadline. App. 80.

     Counties must maintain records of when each mail ballot was

received. 25 P.S. §§ 3146.9(b)(5), 3150.17(b)(5).




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II.   Litigation Over Pennsylvania’s Declaration Date

      Before 2020, county boards routinely counted mail ballots returned

with a missing handwritten declaration date. Only after the General

Assembly expanded the availability of mail-in voting did anyone seek to

force counties to exclude these ballots. As a result, there has been

litigation about this issue in almost all subsequent elections.

      A.   2020 General Election: The Pennsylvania Supreme
           Court Orders the Counting of Ballots Missing a
           Declaration Date

      The Pennsylvania Supreme Court first addressed declaration dates

shortly after the 2020 General Election, when it considered challenges to

the decisions of the Allegheny and Philadelphia election boards to count

mail ballots returned without a handwritten date on the return-envelope

declaration. In re Canvass of Absentee & Mail-in Ballots of Nov. 3, 2020

Gen. Election, 241 A.3d 1058 (Pa. 2020).

      Five days after taking the case, the Supreme Court issued a 3-3-1

decision that the ballots should be counted in 2020. Three Justices

concluded that the Election Code did not require counties to reject ballots

lacking a handwritten date. Id. at 1076-78 (announcing judgment). A

fourth Justice disagreed with that conclusion but agreed that omitting a

date should not disqualify voters under the facts of the case. Id. at 1085-

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89 (Wecht, J., concurring). Three other Justices would have rejected the

ballot of any voter that omitted a date. Id. at 1090-91 (Dougherty, J.,

dissenting).

     A majority acknowledged that there was “persuasive force” to the

argument that rejecting mail ballots for date errors would violate federal

law. Id. at 1074 n.5 (announcing judgment); id. at 1089 n.54 (Wecht, J.,

concurring). The Court, however, did not resolve that issue.

        B.     2021 Municipal Election & 2022 Primary: This Court
               and Pennsylvania Courts Rule that Counties May
               Not Reject Ballots Because of a Missing Declaration
               Date

     Declaration dates next arose during the 2021 Municipal Election,

after the Lehigh County board of election set aside mail ballots where

voters failed to handwrite a date on the return-envelope declaration. A

unanimous panel of this Court held that rejecting those ballots violated

52 U.S.C. § 10101(a)(2)(B). Migliori v. Lehigh Cnty. Bd. of Elections, 36

F.4th 153, 164 (3d Cir. 2022), vacated as moot by Ritter v. Migliori, 143

S. Ct. 297 (2022); see also id. at 164-66 (Matey, J., concurring). This Court

concluded that because omitting the handwritten date on the return

envelope was not “material in determining whether [a voter] is qualified




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to vote under Pennsylvania law,” rejecting ballots based on that omission

violated federal law. Id. at 162-63; id. at 165 (Matey, J., concurring).3

     After Migliori, in two cases relating to the 2022 Primary, the

Commonwealth Court of Pennsylvania held that rejecting ballots because

of missing dates violates or likely violates Pennsylvania and federal law.

Chapman v. Berks Cnty. Bd. of Elections, No. 355 MD 2022, 2022 WL

4100998, at *25, 29 (Pa. Cmwlth. Ct. Aug. 19, 2022); McCormick v.

Chapman, No. 286 MD 2022, 2022 WL 2900112, at *9-14 (Pa. Cmwlth.

Ct. June 2, 2022) (granting preliminary injunction).

     As a result, virtually all Pennsylvania’s counties accepted ballots

returned with a declaration date error in the 2022 Primary.

        C.    2022 General Election: The RNC Initiates Litigation
              that Disrupts Uniform Rules Immediately Before the
              2022 General Election

     Consistent with the three decisions issued between May and

August 2022, the Secretary of the Commonwealth advised counties in the

run-up to the 2022 General Election to count otherwise timely received


     3 In a non-merits, short-form order, the U.S. Supreme Court later

vacated this Court’s decision as moot under United States v.
Munsingwear, Inc., 340 U.S. 36 (1950), because certification of the
disputed election ended any controversy between the parties. Ritter v.
Migliori, 143 S. Ct. 297 (2022).


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mail ballots from qualified voters even where the voter did not handwrite

a date on the return envelope. Pa. App. 243-246, 247. But on October 16,

2022, after almost 300,000 voters had returned mail ballots, see, Dkt. 35,

Ramachandran Decl. ¶ 3, the RNC filed a case in the Pennsylvania

Supreme Court’s original jurisdiction, asking that court to order counties

to invalidate mail ballots that lacked a correctly handwritten date on the

return envelope, Pa. App. 248-281.

     On November 1, by which point almost 1,000,000 mail ballots had

already been returned for the 2022 General Election, see Dkt. 35,

Ramachandran Decl. ¶ 3, the Pennsylvania Supreme Court issued an

order that county boards must “refrain from counting any absentee and

mail-in ballots received for the November 8, 2022 general election that

are contained in undated or incorrectly dated outer envelopes,” Ball v.

Chapman, 284 A.3d 1189, 1192 (Pa. 2022). The order added that “[t]he

Court is evenly divided on the issue of whether failing to count such

ballots violates 52 U.S.C. § 10101(a)(2)(B)” and that counties must

“segregate and preserve” them. Id.4



     4 Chief Justice Max Baer died a few days before Ball was filed, so

the Court had six members at that time.


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      The Ball order did not explain how election officials were to

determine if a declaration was “incorrectly dated.” This omission led to

widespread confusion among election officials.5 Four days later, the

Supreme Court issued a supplemental order, directing that, for the 2022

election, dates (1) before September 19, 2022 (which was around the time

counties began sending mail-ballot packages for that election) or (2) after

Election Day were “incorrect.” Order, Ball v. Chapman, No. 102 MM 2022

(Pa. Nov. 5, 2022), Pa. App. 282-283.

      Several months later, the Supreme Court issued opinions in Ball,

explaining that In re Canvass constituted binding precedent requiring

counties to set aside ballots returned with a missing or incorrect

handwritten date on the declaration. Ball v. Chapman, 289 A.3d 1, 20-23

(Pa. 2023) (opinion of the court). How counties figure out if a date is

“correct” was a question “beyond [the court’s] purview.” Id. at 23 (opinion

of the court).

      As to the federal law raised here, three Justices concluded that

rejecting ballots for date errors violated § 10101(a)(2)(B). Id. at 28



      E.g., Bethanie Rodgers, ‘Utter chaos’: Pa. counties hustle after
      5

Supreme Court order on mail-in ballots, GoErie.com (Nov. 5, 2022).

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(Wecht., J, announcing judgment). Two Justices concluded it did not. Id.

at 37 (Brobson J., dissenting). The final Justice wrote that the deadlock

made it improper to opine at all. Id. at 34 (Dougherty J., concurring). For

this reason, the court stressed that “having divided evenly on the

question of the federal materiality provision, we issued no order on that

basis.” Id. at 28 (opinion of the court).

      Following Ball, more than 10,000 mail ballots were rejected in the

2022 General Election solely because the voter failed to correctly

handwrite a date on the return-envelope declaration. App. 60-61. Each

ballot was submitted by a voter previously determined to be eligible and

qualified to vote in the election by their county board. App. 61. And each

ballot was timely received based on its stamp, as well its entry into the

SURE system. App. 80, 83.

      For some of these voters, it was painfully obvious that they tried to

comply with the requirement. Some wrote their birthdate, Pa. App. 284-

288, some put the date on a different portion of the envelope, Pa. App.

289, and some mistakenly wrote the wrong year (e.g, “2023” or “2002”

instead of “2022”), Pa. App. 290-291.




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     Further, the record in this case shows that county boards adopted

different ways to determine whether the date on the return envelope was

“correct.” App. 82-84. During the 2022 General Election, for example,

some county boards determined that the date was correct only if it

followed the American dating convention of month, day, year. App. 84.

Other counties also accounted for the European dating convention of day,

month, year. Id. Still others, but not all, considered a date correct if it

listed the month and year but not the day, or the day and month but not

year. App. 84 n.44; see also Pa. App. 292-296. And some rejected those

ballots returned with proper dates if the voter had written, but then

crossed out, an incorrect date. App. 84; Pa. App. 297-298.

     Rejecting ballots because of date errors significantly impacted

voters above the age of 65 during the 2022 General Election. In

Philadelphia County, for example, voters 65-years old or older were

disproportionately overrepresented in the number of mail ballots rejected

merely because an eligible voter failed to correctly handwrite an

immaterial date. Pa. App. 893-894.




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III. Disenfranchised   Elderly    Voters             and      Non-Partisan
     Organizations Bring this Action

     The Parties. Five elderly voters whose mail ballots were not counted

in the 2022 General Election for neglecting to handwrite a date and six

organizations involved in voter education sued the Secretary and the

sixty-seven county boards of elections. Plaintiffs sought an order that

their votes be included in the results of the 2022 election and a

declaratory judgment that rejecting ballots for date errors violates

§ 10101(a)(2)(B). Pa. App. 87-88. The RNC and other political committees

associated with the Republican Party intervened as defendants. App. 51-

52. After completing discovery, the parties cross-moved for summary

judgment. Id.

     District Court Proceedings and the 2023 Municipal Elections. On

November 7, the county boards administered the 2023 Municipal

Elections. As of that date, the District Court had not yet resolved the

pending cross-motions for summary judgment and county boards were

segregating mail ballots returned in envelopes with a date error.

     On November 21, the District Court resolved the cross-summary

judgment motions. App. 5-7. The court dismissed fifty-five county boards

from the case, concluding that the voters and voting groups lacked


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standing to bring claims against those boards. App. 5-6. The District

Court also issued a declaratory judgment that rejecting timely returned

mail ballots based solely on voters’ failure to handwrite a correct date on

the outer return envelope violates § 10101(a)(2)(B). App. 6. And the

District Court ordered certain counties to include Plaintiffs’ ballots in

their 2022 results, App. 6, and permanently enjoined the Secretary from

“directing all county boards of elections of the Commonwealth to … not

count timely received mail ballots based on a voter’s error or omission in

relation to the date” on the return envelope, App. 7.

     After the District Court issued its opinion, many counties, including

ones dismissed from this case, canvassed and counted mail ballots

returned with a declaration date error and then certified the results for

at least some of the 2023 elections to include those ballots. See Dkt. 34 at

6-7; Dkt. 35, Ramachandran Decl. ¶ 8; Dkt. 38 at 2.6

     The    2023   Towamencin      Township       Supervisor    Election.   On

November 22, after the District Court’s opinion, Montgomery County



     6 Based on available information, the Secretary believes that these

15 counties did so: Adams, Allegheny, Beaver, Berks, Bucks, Chester,
Dauphin, Delaware, Lancaster, Lebanon, Lehigh, Luzerne, Montgomery,
Philadelphia, and York.


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postponed certification of its election results to count ballots in undated

or incorrectly dated return envelopes. See App. 178-79. Among those

ballots were six from Towamencin Township, which had a close race for

Township Supervisor between incumbent Richard Marino and challenger

Kofi Osei.

     Mr. Marino, the intervenor here, did not challenge Montgomery

County’s decision to count the six mail ballots, as permitted under 25 P.S.

§ 3157. Nor did Mr. Marino or any other interested party seek a recount

in the race. See Id. §§ 3261-3263, 3154(f).

     Following the counting of these six ballots, the race was tied, with

each candidate receiving 3,035 votes. App. 144. After a tiebreaker,

Montgomery County declared Mr. Osei the winner. The race was certified

on December 4, 2023. Id.

     A week after the statutory deadline to do so, some voters in

Towamencin Township filed an election contest—a procedure available

when an election is “illegal,” 25 P.S. § 3457—challenging the result. App.

151-196. The Court of Common Pleas dismissed the contest because “the

Petition at issue was untimely filed,” and because it was not illegal for

Montgomery County to follow the District Court’s order. See In re: Contest



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of November 7, 2023 Election of Towamencin Township, Docket No. 23-

26306, (Mont. Cnty. C.C.P. Dec. 20, 2023), Pa. App. 1052-1053.

     After the dismissal was appealed, the Commonwealth Court denied

the voters’ motion to enjoin Mr. Osei from taking office during their

appeal. Order, In re: Contest of November 7, 2023 Election of Towamencin

Township, No. 1482 CD 2023 (Pa. Cmwlth. Ct. Dec. 28, 2023), Pa. App.

1055-1056. As that court explained, the voters were not likely to succeed

because the Court of Common Pleas had correctly concluded that they

inexcusably had missed the filing deadline. In re: Contest of November 7,

2023 Election of Towamencin Township, No. 1482 CD 2023, slip op. at

15-21 (Pa. Cmwlth. Ct. Dec. 28, 2023), Pa. App. 1071-1077.

     Mr. Osei was sworn into office on January 2. Pa. App. 1082.

     This Appeal. On December 6, 2023, the RNC filed this appeal, Mr.

Marino moved to intervene, and both filed a motion for a stay pending

appeal. Dkt. 8 & 9. This Court granted both motions on December 13.

Dkt. 43. The motions panel expressly stated it was not deciding whether

the RNC is “more likely than not” to prevail. Id. at 3.




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                  SUMMARY OF THE ARGUMENT

     In 1964, Congress passed a law forbidding states from using trivial

paperwork requirements to deny the right to vote. See 52 U.S.C.

§ 10101(a)(2)(B). The law Congress enacted uses clear, unambiguous

language:

     No person acting under color of law shall … [1] deny the right
     of any individual to vote in any election because [2] of an error
     or omission on any record or paper relating to any application,
     registration, or other act requisite to voting, [3] if such error
     or omission is not material in determining whether such
     individual is qualified under State law to vote in such election.

     For purposes of this statute, Congress specifically defined “vote” to

“include[] all action necessary to make a vote effective including, but not

limited to, registration or other action required by State law prerequisite

to voting, casting a ballot, and having such ballot counted and included

in the appropriate totals.” Id. § 10101(e); see also id. § 10101(a)(3)(A).

     The District Court correctly held that rejecting ballots because a

voter neglected to properly write a date on the ballot’s return-envelope

declaration easily fits within the plain meaning of the statute. First, that

date has no function in Pennsylvania’s elections and so “is not material

in determining” whether anyone is qualified to vote. Second, failing to

correctly date the required declaration is “an error or omission on any


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record or paper relating to any application, registration, or other act

requisite to voting.” Third, rejecting a qualified voter’s timely received

ballot “den[ies] the right … to vote.”

     Although the statute, by its plain terms, applies to errors on papers

relating to “any application, registration, or other act requisite to voting,”

the RNC insists that it governs only voter registration. RNC Br. at 21. To

reach that counter-textual conclusion, the RNC asks this Court to eschew

the clear meaning of “other act requisite to voting” in favor of the RNC’s

flawed application of the ejusdem generis canon of construction. That

canon applies only to ambiguous language, a condition not met here. And

the RNC’s application of it would make the general term “other act

requisite to voting” superfluous.

     Further, the RNC maintains that § 10101(a)(2)(B) applies only

when a mistake is made on a “paper or record [] used ‘in determining’

whether an individual is qualified to vote.” RNC Br. at 23. That, however,

completely rewrites the text. The statute’s first clause directs that it

applies to denials of the right to vote due to errors made on a “record or

paper relating to any application, registration, or other act requisite to

voting.” 52 U.S.C. § 10101(a)(2)(B). The statute’s second clause limits the



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first clause’s application to when the “error or omission is not material in

determining whether such individual is qualified under State law to vote

in such election.” Id. So, contrary to the RNC’s description, there is no

requirement that the records and papers be used in determining

someone’s qualifications.

     Next, the RNC invokes two more canons—constitutional avoidance

and federalism considerations—as reason for this Court to write its own

limits into the text. Those canons are inapplicable for overlapping

reasons: (1) they require statutory ambiguity; (2) Congress had power

under both Article I’s Elections Clause and the Fifteenth Amendment to

pass the law it did; and (3) there are no federalism concerns when

Congress properly and intentionally regulates state elections.

     Legislative history also supports State-Appellees. Before 1964,

most arbitrary denials of the right to vote happened during registration,

but the record communicates that Congress was motivated to prevent

arbitrary denials of the right to vote—not only of a right to register.

Compliance with registration requirements is no more consequential to

exercising the right to vote than is compliance with any other procedural

predicate to voting. And history had shown the states were willing to



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avoid more targeted federal laws protecting the right to vote, making

Congress’s response a reasonable prophylaxis.

     The RNC’s warning that keeping to the statute’s unambiguous

meaning will produce a federal takeover of state elections is terribly

overstated. Section 10101(a)(2)(B) has meaningful limits—such as that

the error must occur on a record or paper, that record or paper must

relate to registration or an act requisite to voting, and the error must not

be material to a voter’s qualification. The RNC does not identify a law

other than Pennsylvania’s date requirement that flunks this test.

     Affirming the District Court’s resolution of what federal law

requires will restore uniformity to Pennsylvania elections. Contra RNC

Br. at 54-57. As the record here shows, disuniformity resulted from the

Pennsylvania Supreme Court decision in Ball v. Chapman, holding that,

under state law, ballots must be rejected if the voter failed to correctly

date the return envelope. But the decision in Ball explicitly did not rule

on the federal law issue central to this appeal and does not impose a

conflicting obligation on any county. Affirming the District Court’s

decision here will resolve that issue and result in uniform practices

across Pennsylvania.



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     Finally, Mr. Marino has no stake in this appeal, and never did. He

failed to challenge his loss in state court, and no decision of this Court

could have helped him. But the certification of his loss in the 2023

election, and the subsequent swearing in of his opponent, have no bearing

on this Court’s jurisdiction, because this appeal was never going to affect

the 2023 Municipal Elections, all of which are over. For the same reason,

the Purcell principle has no relevance to this case.

                              ARGUMENT

I.   Section 10101 Prohibits Rejecting Mail Ballots Due to an
     Error on the Return-Envelope Declaration

     Statutory text, structure, and history all point to one conclusion in

this case: Pennsylvanians may not have their ballots set aside for failing

to correctly write a date on the declaration returned with a mail ballot.

Applying § 10101(a)(2)(B) to facts easily within its scope, as the District

Court did here, will not prevent states or counties from enforcing

necessary rules regulating elections.

     A.    Section 10101’s Plain Text Requires Affirming the
           District Court

     State actors may not “deny the right of any individual to vote in any

election because of an error or omission on any record or paper relating

to any application, registration, or other act requisite to voting, if such

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error or omission is not material in determining whether such individual

is qualified under State law to vote in such election.” 52 U.S.C.

§ 10101(a)(2)(B). Congress defined “vote” as used in this section to

“include[] all action necessary to make a vote effective including, but not

limited to, registration or other action required by State law prerequisite

to voting, casting a ballot, and having such ballot counted and included

in the appropriate totals of votes cast.” Id. § 10101(e).

     Application of this language here is uncomplicated. First, a voter’s

handwritten date on a return-envelope declaration has no function in

Pennsylvania’s elections and so “is not material in determining” whether

anyone is qualified to vote. Second, failing to correctly date the required

declaration is “an error or omission on any record or paper relating to any

application, registration, or other act requisite to voting.” Third, rejecting

a qualified voter’s timely received ballot “den[ies] the right … to vote.”

           1.    The Handwritten Date Is Not Material

     The District Court correctly found that a voter’s handwritten date

on a return envelope is not “material in determining whether such

individual is qualified under State law to vote” because “the undisputed

evidence shows that … county boards of elections did not use the



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handwritten date on the return envelope for any purpose related to

determining a voter’s age, citizenship, county or duration of residence, or

felony status.” App. 81. Consistent with this conclusion, the RNC itself

admits that “the date requirement has nothing to do with determining a

voter’s qualifications.” RNC Br. at 25.

     The District Court’s finding, and the RNC’s admission, are correct

because under Pennsylvania law the date serves no function. The history

of the Election Code demonstrates that the handwritten date once

confirmed that a ballot had been completed before Election Day. Supra

at 5-6. But ever since the General Assembly established a single deadline

to complete and return the ballot, the declaration date has ceased serving

that (or any other) function. If a ballot is timely received by a county

board, it necessarily was timely completed by the voter. And the date

written by the voter does not assist county boards in determining

whether they received the ballot before that deadline. Rather, county

boards independently track timeliness based on when the county board

in fact received each mail ballot. App. 58.

     Five of the six Justices of the Supreme Court of Pennsylvania in

Ball expressly recognized that there is no connection between the



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handwritten date on the return envelope and a voter’s qualifications, and

the sixth did not address the subject. 289 A.3d at 24 (Wecht, J.,

announcing judgment); see also id. at 39 (Brobson, J., dissenting)

(observing that the declaration date would not “have any bearing on

determining voter qualification at all.”). That conclusion aligns with this

Court’s decision in Migliori that the omission of the date on the return

envelope was immaterial. 36 F.4th at 164.

     Nor is it true that the date “establishes a point in time against

which to measure the elector’s eligibility to cast the ballot.” RNC Br. at

46 (quoting In re Canvass, 241 A.3d at 1090 (Dougherty, J., dissenting)).

Election Day—not the day the voter dated the return envelope—is the

date against which a voter’s qualifications are measured. See 25 P.S.

§ 2811; 25 Pa.C.S. § 1301. As subsequent decisions have explained,

Justice Dougherty was mistaken. See Berks County, 2022 WL 4100998 at

*19 (“The date as of which an elector’s qualifications are determined is

election day.”); McCormick, 2022 WL 2900112, at *13 (rejecting

conclusion that the handwritten date served weighty interests). Indeed,

Justice Dougherty did not repeat this claim in Ball.




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     Because the handwritten date does not identify any meaningful

point in time, it also does not prevent fraud. Contra RNC Br. at 31-32

(citing In re Canvass, 241 A.3d at 1090 (Dougherty, J., dissenting)).7

Justice Dougherty’s concern that the date “prevents the counting of

potentially fraudulent back-dated votes,” id. at 1091 (Dougherty, J.,

dissenting) had the issue backwards. There is no point in “fraudulently

back-dat[ing]” a ballot envelope if the date is not used to determine

whether the ballot was timely received. It is only where the date affects

whether the ballot will be counted that a motivation to alter it could

possibly exist.

     Thousands of voters, especially the elderly, have already been

disenfranchised because of a mere paperwork technicality. Thousands

more will be if this Court sanctions that practice. Section 10101(a)(2)(B)

was intended for a situation like this where a paperwork requirement




     7 The RNC’s claim that in 2022 the date “helped” prove a ballot was

fraudulently cast is demonstrably wrong. RNC Br. at 32. A Lancaster
County Commissioner testifying about the incident agreed that the date
“did not affect whether [we] counted that ballot.” Pa. App. 653-654.
Lancaster’s election director similarly testified that it was correct that
“regardless of the date written on the envelope, that vote would not have
counted.” Pa. App. 228.


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“serve[s] no purpose other than as a means to inducing voter-generated

errors that could be used to justify” denying the right to vote. Fla. State

Conf. of NAACP v. Browning, 522 F.3d 1153, 1173 (11th Cir. 2008).

           2.    Failing to Properly Fill Out the Return-Envelope
                 Declaration Is an Error or Omission on a Record
                 Related to an Act Requisite to Voting

     Forgetting to date, or incorrectly dating, the return envelope is “an

error or omission on any record or paper relating to any application,

registration, or other act requisite to voting.” 52 U.S.C. § 10101(a)(2)(B).

This conclusion follows directly from the statute’s text.

     While the RNC does not dispute that neglecting to date the return-

envelope declaration is “an error or omission,” it advances a host of

arguments that require disregarding (or, in one case, rearranging) the

plain text of the statute to argue that errors or omissions in the

handwritten date are not within the scope of this section. But where a

statute is unambiguous, determining its meaning “begins with the

statutory text, and ends there as well.” Nat’l Assn. of Mfrs. v. Dep’t of

Def., 583 U.S. 109, 127 (2018) (cleaned up).




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                 a.    Completing the Declaration is an Act Requisite to
                       Voting

     Under the Election Code, anyone who votes by mail “shall … fill

out, date and sign the declaration” printed on the ballot return envelope.

25 P.S. §§ 3146.6(a), 3150.16(a). This language makes completing the

declaration a mandatory part of the mail voting process—or, in other

words, “an act requisite to voting.” See Requisite, adj. & noun, Oxford

English Dictionary (“Required by circumstances or regulations;

appropriate; necessary for a purpose, indispensable.”). So, failing to date

a declaration is an error or omission on a paper relating to an act

requisite to voting.

     The RNC does not dispute that, under Pennsylvania law, filling out

the return-envelope declaration is an “act requisite to voting” using those

terms’ ordinary definitions. In fact, it does not engage with the meaning

of the words at all. Instead, it argues that “act requisite to voting” as used

in § 10101(a)(2)(B) means something else entirely—that it “refers only to

voter registration.” RNC Br. at 21.

     1. Tellingly, the RNC’s analysis begins not with text, but with

legislative history. RNC Br. at 19-20. While the legislative history

confirms State-Appellees’ interpretation, see infra at 50-54, statutory


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text, not history, is the law, Bostock v. Clayton Cnty., 140 S. Ct. 1731,

1738 (2020).

     When the RNC turns to interpreting the text, it bypasses the

meaning of the words themselves to start with the ejusdem generis canon.

See RNC Br. at 21-22. But that canon resolves ambiguity; it does not

create it. See Ali v. Fed. Bureau of Prisons, 552 U.S. 214, 227 (2008)

(rejecting reliance on ejusdem generis to create ambiguity); see also Yates

v. United States, 574 U.S. 528, 564 (2015) (Kagan, J., dissenting) (“[T]his

Court uses noscitur a sociis and ejusdem generis to resolve ambiguity, not

create it.”); Russell Motor Car Co. v. United States, 261 U.S. 514, 520

(1923) (rejecting invocation of noscitur a sociis to interpret words that

have clear meaning). The meaning of “other act requisite to voting” is not

ambiguous and the RNC does not suggest that it is.

     The RNC also misconstrues the ejusdem generis canon, which

advises that “when a general term follows a specific one, the general term

should be understood as a reference to subjects akin to the one with

specific enumeration.” Ali, 552 U.S. at 223. The RNC’s interpretation

does not seek similarity between the specific and general terms, but for




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the specific terms to fully subsume the general.8 The canon, however,

teaches that specific terms anchor the general term’s independent reach.

Yates, 574 U.S. at 545. The RNC’s flawed application of the ejusdem

generis canon would deprive of meaning both “other act requisite to

voting” and every other portion of the statute expressly extending it

beyond registration, such as the broad definition of “vote.” Statutes are

not read that way. E.g., Polselli v. Internal Revenue Service, 598 U.S. 432,

441 (2023) (“We ordinarily aim to give effect to every clause and word of

a statute.”).

      The RNC strains to find some independent meaning that “other act

requisite to voting” could have under its view that the phrase refers only

to registration. RNC Br. at 21-21. But all its examples involve

registration-related documents already covered under the text’s use of

“related to … registration.”




      8 The RNC claims its interpretation is necessary to avoid making

specific terms in a list meaningless, RNC Br. at 21, but if that assertion
is true here, it is true of all lists ending in catch-all terms, a common
legislative drafting technique. E.g., 8 U.S.C. § 1253(a)(1)(C); 18 U.S.C.
§ 1115; 18 U.S.C. § 1715; 21 U.S.C. § 331(k).


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     State-Appellees’ interpretation, on the other hand, gives effect to

all statutory language. Congress sought to ensure that states could not

creatively avoid the statute, as had happened with prior voting laws. See

H.R. Rep. 88-914 (1963), as reprinted in 1964 U.S.C.C.A.N 2391, 2394

(describing Title I of the Civil Rights Act of 1964 as “designed to meet

problems encountered in the operation and enforcement of the Civil

Rights Acts of 1957 and 1960”); NAACP, 522 F.3d at 1173 (referencing

prior laws’ ineffectiveness). Including “other act requisite to voting”

guards against creative “labeling,” see RNC Br. at 21, that would merely

shift the devices used to thwart applications to register to later, similar

acts required during the voting process.

     Finally, using ejusdem generis supports State-Appellees’ view

because a voter’s completion of the declaration is akin to the completion

of a registration application. Each requires submitting a document to a

county board on which the individual swears that they are qualified to

vote. Compare 25 Pa.C.S. § 1327(b) (registration) with 25 P.S. §§ 3146.4,

3150.14(b) (declaration). Registration is how a voter attests (under

penalty of perjury) to their eligibility generally, while the declaration is




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how a voter attests (under penalty of perjury) to their eligibility to vote

in the specific election.

      2.    If the unquestioned meaning of the operative words were not

enough, Congress repeatedly signaled that the statute covers all

instances of failing to properly comply with immaterial paperwork

requirements resulting in the denial of the right to vote.

      Both “record or paper” and “application, registration, or other act

requisite to voting” are introduced by “any.” And “read naturally, the

word ‘any’ has an expansive meaning, that is, one or some

indiscriminately of whatever kind.” Ali, 552 U.S. at 219. So, here, the text

directs that a record or paper “of whatever kind” is within the statute’s

sweep if it must be completed as a predicate to voting.

      Moreover,    Congress    incorporated        into   § 10101(a)(2)(B)    the

definition of “vote” found in § 10101(e). See 52 U.S.C. § 10101(a)(3)(A).

That definitions states, “[T]he word ‘vote’ includes all action necessary to

make a vote effective including, but not limited to, registration or other

action required by State law prerequisite to voting, casting a ballot, and

having such ballot counted and included in the appropriate totals of votes

cast … .” Id. § 10101(e). Not only does the definition list all steps of the



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electoral process, but the list is “introduced with the verb ‘includes’

instead of ‘means,’” a choice further communicating expansiveness.

Christopher v. SmithKline Beecham Corp., 567 U.S. 142, 162 (2012).

     Explicitly incorporating each stage of the voting process into

§ 10101(a)(2)(B)’s definition of vote makes sense only if the statute

reaches records or papers necessary to having a vote counted, but not

necessary for registration (or earlier stages in the voting process), as is

the case here. Through that definition, Congress instructed “courts to

look not only for individuals being stripped of their ability to exercise the

right to vote generally, but for individuals who are denied the right to

have their ballots counted and included in the tallies for an individual

election.” Ball, 289 A.3d at 25 (Wecht, J., announcing judgment).

     3.      Courts, including this one, see Migliori, 36 F.4th at 162 n.56,

have easily reached the conclusion that §10101(a)(2)(B) extends beyond

registration and applies to immaterial errors made on other records or

papers requisite to voting:

     -       La Union del Pueblo Entero v. Abbott, No. 21-844, 2023 WL
             8263348, at *18-22 (W.D. Tex. Nov. 29, 2023), stayed pending
             appeal, United States v. Paxton, No. 23-50885, (5th Cir. Dec.
             15, 2023), ruled that Texas cannot reject mail ballots merely
             because a voter failed to write on their balloting materials the
             ID number associated with their registration record. The


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             decision of a Fifth Circuit motions panel staying the decision
             did not suggest that § 10101(a)(2)(B) is limited to registration.

     -       League of Women Voters of Ark. v. Thurston, No. 20-5174,
             2021 WL 5312640, at *4 (W.D. Ark. Nov. 15, 2021), denied a
             motion to dismiss in a case challenging Arkansas’s
             requirement that absentee voters complete a voter statement
             with information that duplicates what was submitted when
             applying to vote absentee.

     -       Both In re Georgia Senate Bill 202, No. 21-1259, 2023 WL
             5334582, at *11 (N.D. Ga. Aug. 18, 2023) and Martin v.
             Crittenden, 347 F. Supp. 3d 1302, 1308-09 (N.D. Ga. 2018)
             enjoined Georgia counties from rejecting absentee ballots
             merely because a voter failed to write her birthday on the
             return envelope.

     The RNC claims 50 years of countervailing practice are consistent

with its narrow reading of the statute, RNC Br. at 8-9, 32, but none of

the cases it cites supports its claim:

     -       Schwier v. Cox, 340 F.3d 1284, 1297 (11th Cir. 2003), ruled
             that § 10101(a)(2)(B) can be enforced by private right of action
             and remanded to the district court for consideration of the
             merits.

     -       Florida State Conference of NAACP v. Browning, 522 F.3d
             1153, 1172-75 (11th Cir. 2008), concerned what information
             Florida could require during registration but had no need (and
             did not) address when else the statute might apply.

     -       Thrasher v. Ill. Rep. Party, No. 12-4071, 2013 WL 442832, at
             *3 (C.D. Ill. Feb. 5, 2013), rejected that § 10101(a)(2)(B) had
             any application to “the inner workings and negotiations of a
             state political party convention” because that was “a domain
             far outside the statute’s purview.”



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     -       Friedman v. Snipes, 345 F. Supp. 2d 1356, 1372-73 (S.D. Fla.
             2004), ruled that § 10101(a)(2)(B) did not require counting
             untimely mail ballots because even if Congress was
             “concerned about denials of the right to vote at all stages and
             components of the voting process—from application to
             registration to casting to counting,” returning a ballot after
             the deadline was not an error on a record.

     -       Condon v. Reno, 913 F. Supp. 946 (D.S.C. 1998), was about
             the National Voter Registration Act.

     There is no basis for the Court to depart from the common

understanding of “act requisite to voting,” its ruling in Migliori, or what

other courts to consider this issue have held.

                   b.    Nothing Else in § 10101(a)(2)(B) Limits Its Reach
                         to the Review of Registration Materials

     The RNC’s next atextual argument is that § 10101(a)(2)(B)

“requires that the paper or record be used ‘in determining’ whether an

individual is ‘qualified’ to vote.” RNC Br. at 23. But the statute says no

such thing.

     Section 10101(a)(2)(B) consists of two clauses that act in tandem:

     No person acting under color of law shall…

     [1] deny the right of any individual to vote in any election because
     of an error or omission on any record or paper relating to any
     application, registration, or other act requisite to voting,

     [2] if such error or omission is not material in determining whether
     such individual is qualified under State law to vote in such election.



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The first clause defines when the statute applies: any time the right to

vote is denied for an error “on any record or paper relating to any

application, registration, or other act requisite to voting.” The second

limits which errors or omissions are covered under the first clause: only

an error or omission that “is not material in determining whether such

individual is qualified under State law to vote in such election.”

     The RNC turns the structure of § 10101(a)(2)(B) on its head,

reading the phrase “in determining” from the second clause to act as a

limitation on how the records or paper must be used. But the effect of the

second clause is to exclude from the statute’s reach those errors or

omissions where the information the voter is asked to provide is material

to whether they are qualified to vote in such election. It says nothing

about which records or paper are covered.

     As the Eleventh Circuit has explained, the second clause’s core

inquiry requires asking “whether, accepting the error as true and correct,

the information contained in the error is material to determining the

eligibility of the applicant.” NAACP, 522 F.3d at 1175. If it is not, then

an error or omission may not be used to deny the right to vote. The

inquiry focuses on “the nature of the underlying information” that the



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voter has failed to provide. Id. This conclusion is consistent with the fact

that the subject of the second clause, where “in determining” appears, is

not “paper or record”—as the RNC falsely claims, see RNC Br. at 23—but

“error or omission.”

     A comparison of § 10101(a)(2)(B) and the provisions immediately

before and after it confirms this interpretation. The phrase “in

determining whether any individual is qualified under State law”

appears at the beginning of § 10101(a)(2)(A), and thus defines a process

to which that provision applies. See In re Salgado-Nava, 473 B.R. 911,

916 (9th Cir. BAP 2012) (interpreting “in determining” as used to

introduce 11 U.S.C. § 330(a)(7)); see also In re Rowe, 750 F.3d 392, 396

(4th Cir. 2014) (same). Congress did not repeat the same structure in

§ 10101(a)(2)(B), instead using “in determining” in connection with the

relevance of the “errors or omissions.”

     Thus, contrary to the RNC’s claim, RNC Br. at 23-24, the structure

of § 10101(a)(2) offers further reason to reject its interpretation. That

§ 10101(a)(2)(A)   is    written   the       way    the   RNC     would        prefer

§ 10101(a)(2)(B) were written does not allow it to ignore the differences

between the two provisions. Rather, it reflects that Congress made a



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deliberate choice, which must be respected. Univ. of Texas Sw. Med. Ctr.

v. Nassar, 570 U.S. 338, 353 (2013) (“Just as Congress’ choice of words is

presumed to be deliberate, so too are its structural choices.”).

     Moreover, § 10101(a)(2)(A) uses “in determining whether any

individual is qualified under State law or laws to vote in any election.”

The use of “any” communicates a concern with determining if a voter is

qualified to vote generally in elections of any kind—the function of

registration. But § 10101(a)(2)(B) uses “in determining whether such

individual is qualified under State law to vote in such election.” The use

of “such” connotes concern with determining a voter’s qualifications for a

specific election. Migliori, 36 F.4th at 163. That is not the exclusive role

of voter registration.

     The subsequent section, § 10101(a)(2)(C), prohibits “employ[ing]

any literacy test as a qualification for voting in any election,” subject to

certain exceptions not relevant here. The RNC makes the astonishing

claim that this prohibition only bars the use of literacy tests in voter

registration. See RNC Br. at 24. But any requirement that a voter must

pass a literacy test to vote can impose a “qualification” on voting

regardless of whether the test is required as a precondition of registration



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or is given at a later stage in the process. Like § 10101(a)(2)(B),

§ 10101(a)(2)(C) is concerned with protecting the right to vote, which

“includes all action necessary to make a vote effective.” Id. § 10101(e).

     Finally, § 10101(b) covers a completely different subject matter

(threats) and different actors (both private and public actors) than

§ 10101(a)(2), and so does not aid the RNC’s position. Contra RNC Br. at

25. Nor do the remedies under § 10101(e), contra id. at 24, inform the

meaning of § 10101(a)(2)(B). Those remedies are available after a finding

of a pattern or practice of denying the right to vote “on account of race or

color of any right or privilege secured by subsection (a).” When this

remedial language was enacted as part of the Civil Rights Act of 1960,

the only part of subsection (a) that existed was the provision now codified

at § 10101(a)(1), which is the focus of this language.

                 c.    Constitutional   Avoidance    and          Federalism
                       Considerations Are Inapplicable

     Neither constitutional avoidance nor federalism considerations

permits reading “error or omission on any record or paper relating to any

application, registration, or other act requisite to voting,” as meaning

something other than what it says. Contra RNC Br. at 30-35, 35-40.




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     Both canons are useful only to make sense of ambiguous statutory

language. United States v. Palomar-Santiago, 593 U.S. 321, 329 (2021)

(explaining that the constitutional avoidance canon “has no application

in the absence of statutory ambiguity.”); Pa. Dep’t of Corrections v.

Yeskey, 524 U.S. 206, 209 (1998) (explaining that federalism canon is

inapplicable where a statute “plainly covers” the issue); All. for Fair Bd.

Recruitment v. SEC, 85 F.4th 226, 255 (5th Cir. 2023) (holding that

federalism canon “only applies when a statute is ambiguous”). The

language here is not ambiguous, and the RNC does argue otherwise.

Even if it were, neither canon supports the RNC’s interpretation.

     Constitutional Avoidance: For federal elections, Title I of the

Civil Rights Act of 1964, which enacted what is now codified at

§ 10101(a)(2)(B), is a valid exercise of Congress’s authority to “make or

alter” regulations of “The Times, Places and Manner of holding Elections

for Senators and Representatives.” U.S. Const. art. I, § 4; see H.R. Rep.

88-914, at *2492 (Rep. McCulloch, et al.) (identifying Article I, § 4 as

authorizing Title I); see also Woods v. Cloyd W. Miller Co., 333 U.S. 138,

144 (1948) (“The question of the constitutionality of action taken by

Congress does not depend on recitals of the power which it undertakes to



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exercise.”).9 The RNC’s constitutional avoidance arguments never

mention this clear font of congressional authority.

     Instead, the RNC claims that adopting its “registration-only”

interpretation is necessary for Title I to be proper under Congress’s

Fifteenth Amendment power to enact “appropriate legislation” to

prohibit citizens’ right to vote from being “denied or abridged” “on account

of race.” U.S. Const. amend. XV. It maintains that a record replete with

evidence of repeated, persistent denials of the right to vote cannot justify

a remedy that would prohibit such arbitrary denials at any stage in the

voting process, because Congress had no reason to believe that those who

sought to prevent the registration of Black voters would try to thwart

them at other stages in the process as well. RNC Br. at 27. And it makes

this claim in the context of discussing Congress’s power to enforce a

constitutional amendment that protects “[t]he right of citizens of the

United States to vote.” To state this argument is to refute it.

     As the legislative record reflects, the constitutional injury Title I

responded to was states’ use of immaterial paperwork requirements to



     9 Here, the individual plaintiffs challenged failures to count their

ballots in the 2022 federal election.

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deny Black voters their right to vote. E.g., H.R. Rep. 88-914, at *2491-92

(Rep. McCulloch, et al.); 110 Cong. Rec. 1519, 1522 (1964) (Rep. Celler);

110 Cong. Rec. 1600 (1964) (Rep. Daniels); 110 Cong. Rec. 6647 (1964)

(Sen. McIntyre); 110 Cong. Rec. 6723 (1964) (Sens. Ervin and Keating).

The evidence before Congress showed that “among the devices most

commonly employed” to prevent Black voters from registering was

“rejecting Black applicants for minor errors or omissions.” H.R. Rep. 88-

914 at *2491. “Testimony show[ed] that … registrars” would “overlook

minor misspelling errors or mistakes in age or length of residence of

white applicants,” but deny Black applicants “for the same or more trivial

reasons.” Id.

     This crisis necessitated forbidding immaterial errors or omissions

from being used to deny the right to vote at any point in the voting

process, not just during registration. A statute limited to registration

could easily be circumvented by shifting the same demands once used

largely at registration to any later time. Concerns about circumvention

were especially real because Congress’s previous legislative attempts had

not achieved their objectives. NAACP, 522 F.3d at 1173 (explaining

statutes “enacted in 1870, 1871, 1957, and 1960” had not prevented



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burdening Black voters’ right to vote); H.R. Rep. 88-914 at *2394

(describing Title I as “designed to meet problems encountered in the

operation and enforcement of the Civil Rights Acts of 1957 and 1960”).

     Thus, § 10101(a)(2)(B) is a congruent and proportional remedy (and

certainly a rational one) for states’ use of immaterial errors and

omissions to reject Black voters while overlooking the same for white

voters. Vote.Org v. Callanen, – F.4th –, No. 22-50536, 2023 WL 8664636,

*18-19 & n.11 (5th Cir. 2023) (concluding that § 10101(a)(2)(B) survives

either the “congruent and proportional” or “rational means” standard).

     The RNC has not substantiated that its interpretation is needed to

avoid calling the constitutionality of § 10101(a)(2)(B) into “serious doubt.”

Jennings v. Rodriguez, 583 U.S. 281, 296 (2018).

     Federalism: Because Title I expressly (and permissibly) regulates

states’ management of elections, the federalism canon is of no use here.

That canon “rests on an assumption about congressional intent: that

‘Congress does not exercise lightly’ the ‘extraordinary power’ to legislate

in areas traditionally regulated by the States.’” Arizona v. Inter-Tribal

Council of Ariz., Inc., 570 U.S. 1, 13 (2013) (citing Gregory v. Ashcroft,

501 U.S. 452, 460 (1991)). That assumption does not apply when



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Congress acts under constitutional provisions that expressly empower it

to regulate elections. Id. at 13-14.10

      Similarly, this case is not about a statute that would “authoriz[e]

an agency to exercise powers of vast economic and political significance.”

See Ala. Assoc. of Realtors v. Dep’t of Health and Human Servs., 141 S.

Ct. 2485, 2489 (2021) (nationwide eviction moratorium); see also U.S.

Forest Serv. v. Cowpasture River Preservation Assn., 140 S.Ct. 1837, 1850

(2020) (transformation of privately owned and state-owned land into

federal land). Nor would applying § 10101(a)(2)(B) here “significantly

alter the balance between federal and state power.” See Cowpasture River

Preservation Assn., 140 S.Ct. at 1850; see also All. for Fair Bd.

Recruitment, 85 F.4th at 255 (rejecting invocation of doctrine where the

at-issue legislation “does not alter the state-federal balance”).11 Rather,


      10 The RNC cites to Clingman v. Beaver, 544 U.S. 581, 593 (2005),

to say that the federalism canon directs courts to “avoid interpreting
statutes to ‘hamper the ability of States to run efficient and equitable
elections.’” RNC Br. at 29. But this misrepresents Clingman, which did
not involve statutory interpretation or the federalism canon at all. It
certainly did not involve § 10101(a)(2)(B) or the Civil Rights Act of 1964
more generally.
      11 The RNC hangs much of its federalism argument on a parade of

horribles that simply will not follow from affirming the District Court’s
decision. Infra at 54-56.


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as even the RNC’s interpretation of § 10101(a)(2)(B) recognizes, Congress

passed Title I expressly to regulate states’ administration of elections.

           3.    Refusing to Count a Legal Vote Denies the Right
                 to Vote

     Finally, rejecting a qualified voter’s timely received mail ballot such

that it will not be counted “den[ies] the right … to vote.” 52 U.S.C.

§ 10101(a)(2)(B). This conclusion comes directly from the definition of

“vote” that Congress specifically adopted for this provision. As used in

§ 10101(a)(2)(B), “‘vote’ includes all action necessary to make a vote

effective including, but not limited to, registration or other action

required by State law prerequisite to voting, casting a ballot, and having

such ballot counted and included in the appropriate totals of votes cast

with respect to candidates for public office.” Id. § 10101(e) (emphasis

added); see also id. § 10101(a)(3)(A).

     Nowhere in the RNC’s explanation of why rejecting ballots does not

deny the right to vote does it acknowledge the statute’s definition of the

word “vote.” See RNC Br. at 25-30. Rather, the RNC once more points to

everything but the statute’s text.

     It first suggests that § 10101(a)(2)(B) does not shield voters from

arbitrary mail ballot rejections because there is no constitutional right to


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vote by mail. RNC Br. at 26-27, 41. That claim is beside the point. This

case does not implicate the right to vote by mail, or the right to vote by

any specific method. Unlike McDonald v. Board of Election Com’rs of

Chicago, see RNC Br. at 27, no party in this case claims the “right to

receive absentee ballots.” 394 U.S. 802, 807 (1969). Rather, because

Pennsylvania gives voters the option to vote by mail, the procedures to

do so must comply with § 10101(a)(2)(B).

     The RNC then proceeds to invent a dichotomy between denial of the

right to vote and voters’ own failures to comply with “laws regulating the

voting process.” RNC Br. at 27-30. But the RNC never explains what

statutory language creates an exemption for “laws regulating the voting

process,” something the statute’s text does not remotely contemplate.

     Each step in the voting process “requires compliance with certain

rules.” Brnovich v. Democratic Nat’l Comm. 141 S.Ct. 2321, 2338 (2021).

But § 10101(a)(2)(B) creates a federal-law standard that generally

applicable state-law rules must satisfy. The RNC’s argument is an

exercise in question-begging: it simply assumes that there are entire

categories of election-related rules that are exempt from § 10101(a)(2)(B),

and then asserts that the dating requirement must be one of them.



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        Indeed, § 10101(a)(2)(B) applies only in cases involving an “error or

omission.” The statute’s underlying premise is that the voter will have

not followed some generally applicable requirement regulating the voting

process. Every case in which § 10101(a)(2)(B) applies will involve a voter

who “did not follow the rules.” So, it swallows the statute to say that it

does not apply where the voter “did not follow the rules.” RNC Br. at 30

(quoting Ritter v. Migliori, 142 S. Ct. 1824, 1825 (2022) (Alito, J.,

dissenting)). If the RNC is right, the statute “would never be violated,

because every ‘error or omission’ would constitute an elector’s accidental

forfeiture of his or her vote by failing to follow the rules for voting, rather

than a denial of the ‘right to vote’ for which a state actor would be

responsible.” Ball, 289 A.3d at 25 (Wecht, J.). Faulting voters any time

they fail to comply with procedural rules merely circumvents the

statute’s operation. Vote.Org, 2023 WL 8664636, *19.

        This Court should reject the RNC’s attempt to render the statute

null.




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      B.     Congress Sought to Protect the Right to Vote, Not the
             “Right to Register”

      The     undercurrent    beneath       the    RNC’s    insistence      that

§ 10101(a)(2)(B) protects only the right to register is the assumption that

Congress meant to do something other than what it said. Regardless of

what the legislative record contains, “the text of the resulting statute,

and not the historically motivating examples is [] the appropriate

starting point of inquiry in discerning congressional intent.” NAACP, 522

F.3d at 1173. If the text captures “situations not expressly anticipated by

Congress,” it “does not demonstrate ambiguity. It demonstrates breadth.”

Yeskey, 524 U.S. at 212.

      As discussed at length, the text of § 10101(a)(2)(B) applies to

Pennsylvania’s handwritten date requirement. The legislative record is

perfectly consistent with State-Appellees’ plain text reading because it

reflects legislators acting to defend the right to vote, not a “right to

register.”

      Congress passed Title I “to counteract state and local government

tactics of using, among other things, burdensome registration

requirements to disenfranchise African Americans” because some states

historically made trivial demands for information that “served no


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purpose other than as a means of inducing voter-generated errors that

could be used to justify rejecting applicants.” NAACP, 522 F.3d at 1173.

Before 1964, registration was the foremost point at which demands for

trivial information were used to deny the right to vote. But Congress’s

evident concern was protecting the right to vote from arbitrary denials.

     As the House reported, Title I was intended to “provide specific

protections to the right to vote and would reduce opportunities for

discriminatory application of voting standards.” H.R. Rep. 88-914 at

*2394. Those protections for the right to vote were needed because

reports   published   by   the   congressionally     created    Civil   Rights

Commission had “dramatically demonstrated the inadequacy of present

law to protect the most basic of all rights—the right to vote. … [A]ll or

most Negroes in hundreds of communities are still denied the right to

register and vote for those who will govern them.” 110 Cong. Rec. 2732

(1964) (Rep. Dawson) (emphasis added). Supporters of the bill

emphasized that it was the “right to vote” that was “essential to

citizenship,” and it was equalizing access to that right that informed the

Civil Right Act’s voting reforms. H.R. Rep. 88-914, at *2488 (Rep.

McCulloch, et al.).



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      By 1964, it was settled that the right to vote could be implicated at

any point in the electoral process. See United States v. Mosley, 238 U.S.

383, 386 (1915) (“We regard it as equally unquestionable that the right

to have one’s vote counted is as open to protection by Congress as the

right to put a ballot in a box.”); see also 1957 U.S. Comm’n on Civil Rights

57-66 (giving examples of the denials of the right to vote occurring to

already registered voters); 1961 U.S. Comm’n on Civil Rights, Part 1:

Voting 17 (explaining that whatever protections exist for the right to vote

must apply “to the whole electoral process including primaries, with

respect to all public officials whether local, State, or national”).

      Title I’s protections of the right to vote were thus broadly meant to

end “the use of onerous procedural requirements which handicap the

exercise of the franchise.” H.R. Rep. 88-914 at *2492 (cleaned up); see also

110 Cong. Rec. 1593 (1964) (Rep. Farbstein) (supporting Title I because

it confronts “wholesale denials of the right to vote”); 110 Cong. Reg. 6650

(1964) (Sen. Javits) (citing “outright and outrageous deprivation[s] of

voting rights” as reason for Title I); 110 Cong. Rec. 6723 (1964) (Sen.

Keating) (“Abundant proof exists to establish that people have been




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denied the right to vote because of immaterial errors in their

applications.”).

     Opponents of the bill well understood that a law forbidding certain

denials of the right to vote would apply at any stage of the electoral

process. One decried that Title I would allow the Attorney General to

bring actions for “arbitrary acts or inaction in the area of registration,

voting, or counting of votes in any Federal election.” 110 Cong. Rec. 1605

(1964) (Rep. Huddelston). Another recognized that the bill would apply

to poll tax receipts, but questioned who would decide if such a receipt was

material. 110 Cong. Rec. 1691 (1964) (Rep. Harris).

     Nothing in the legislative record substantiates the RNC’s irrational

view that Congress meant to allow—or at least was completely

ambivalent about—arbitrary denials of the right to vote so long as they

happened after registration. Registration itself is not sacrosanct and any

statute protecting the right to vote entirely by protecting registration

could be easily circumvented with “labeling.” RNC Br. at 21. History

taught that circumventing federal civil rights legislation was a real and

persistent risk. H.R. Rep. 88-914 at *2394 (describing Title I as “designed

to meet problems encountered in the operation and enforcement of the



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Civil Rights Acts of 1957 and 1960”); see also NAACP, 522 F.3d at 117

(noting that statutes enacted in 1870, 1871, 1957, and 1960 had not

adequately protected the right to vote). The statute’s text lays bare that

Congress did not make the senseless decision that the RNC claims it did.

     At bottom, § 10101(a)(2)(B) was a prudent response to a history of

disenfranchising voters through demands for immaterial information. Its

text is consistent with the reality that “Congress in combating specific

evils might choose a broader remedy.” NAACP, 522 F.3d at 1175.

     C.    The RNC Grossly Exaggerates the Consequences of the
           District Court’s Decision

     Section 10101(a)(2)(B) has a narrow but definitive purpose: to stop

the imposition of immaterial paperwork requirements that deny

qualified voters the opportunity to successfully participate in the

electoral process. Nothing about applying the statute to facts squarely

within its reach, as those here, would stop states from imposing

important election rules.

     For example, there is no reason to equate the immaterial date

requirement in this case with signature requirements. RNC Br. at 33-34.

Signing the declaration is a solemn act that requires voters, under

penalty of perjury, to complete a “statement of the electors


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qualifications.” 25 P.S. §§ 3146.4, 3150.14(b). Under Pennsylvania law,

by signing the declaration alone, voters attest that they are the person

qualified to return the mail ballot and subject themselves to criminal

penalty if the statement that they are qualified is knowingly false. Id.

§ 3553. The history of the Election Code similarly shows that the

declaration serves its purpose once a voter has signed it, even if the

declaration is undated. Supra at 5-6. Writing a date does not carry

similar weight or purpose.

     The Secretary has consistently stated that, in Pennsylvania,

signatures, such as the one on the return-envelope declaration, are

“material.” As a factual matter, counties do not count mail ballots

returned without a declaration signature. Further, the Fifth Circuit’s

recent decision that under Texas law a wet signature on voter

registration forms is “material” undermines the RNC’s catastrophist

arguments. Vote.Org, 2023 WL 8664636, at *20-21.

     The rest of the RNC’s parade of horribles is equally unconvincing.

Ballot rules (such as not counting overvotes or undervotes) are not

implicated. Contra RNC Br. at 34. Completing a ballot, unlike a

declaration, is the act of voting. It is not an “act requisite to voting.”



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Failure to use a secrecy envelope, RNC Br. at 34, is not “an error or

omission on any record or paper.” It is an omission of a record or paper.

Nor is going “to the polling place on the wrong day,” going “after the polls

have closed” or delivering your ballot to the wrong place an error on a

record or paper. Contra Ritter v. Migliori, 142 S.Ct. 1824, 1825 (2022)

(Alito, J., dissenting).

      All in all, the RNC has not supported the view that scores of election

regulations would fall under State-Appellees’ plain text reading.

II.   The District Court’s Remedy Was Lawful and Appropriate

      The RNC asserts that the remedy entered by the District Court was

unlawful under Bush v. Gore, 531 U.S. 98 (2000), and Purcell v. Gonzalez,

549 U.S. 1 (2006). Neither claim has merit.

      Bush v. Gore: The Equal Protection concerns reflected in Bush v.

Gore provide no basis for reversing the District Court’s judgment. Rather,

they support affirming, which would ensure that a consistent rule is

applied in the future in every county in Pennsylvania.

      Bush reversed a decision requiring election officials to comply with

state law and consider “the intent of the voter” in determining the

validity of a ballot. Bush, 531 U.S. at 105, 110. The Supreme Court found



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that the use of different standards to determine the voter’s intent in

different counties would lead to the unequal evaluation of ballots. Id. at

108. Accordingly, Bush held that counting votes in compliance with that

state law would violate equal protection. Id. at 110. The Court stressed,

however, that its “consideration [was] limited to the present

circumstances,” id. at 109, which likely explains why the RNC cannot cite

a single subsequent case applying the decision in any context.

     Affirming the District Court here will not “compel application of

different standards” across counties. Contra RNC Br. at 56. All counties

must follow federal law. A precedential decision from this Court

affirming the District Court’s judgment will be controlling as to the

meaning of federal law in this Circuit.

     Therefore, affirming the District Court’s judgment would establish

a uniform rule for ballots returned with declaration date errors.

     Doing so would prevent a return to the inconsistent treatment of

ballots that followed inevitably from Ball’s order requiring counties to

reject ballots that were “incorrectly dated.” As the District Court

observed, “the record is replete with evidence that the county boards’

application of the Ball order in the November 2022 general election



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created inconsistencies across the Commonwealth in the way ‘correctly

dated’ and ‘incorrectly dated’ ballots were rejected or counted by different

counties.” App. 82; see also App. 82-83 (providing examples of

disuniformity across counties).

     Contrary to the RNC’s repeated assertions, e.g., RNC Br. at 56, the

Pennsylvania Supreme Court’s order in Ball would not justify any

county’s refusing to follow a precedential decision from this Court and

thus affirming here would not create disparate rules throughout

Pennsylvania.12 Ball was based on state law and explicitly left unresolved

the federal question at issue here. 289 A.3d at 28. And the order entered

in that case applied only to the 2022 general election. Ball, 284 at 1192.

So while that decision remains controlling precedent on the state-law

question, state law must yield to federal law.

     While its argument sounds in concerns about uniformity, the RNC

actually seeks to maintain the inconsistency that followed Ball. The

Court should reject this request.




     12 Information available to the Secretary suggests at least seven

counties dismissed from this action counted ballots in the 2023 Municipal
Election that were returned with a date error.


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     Purcell v. Gonzalez: The RNC next argues, based on the “Purcell

Principle,” that “the District Court’s judgment must be reversed to the

extent it applies to the 2023 election cycle.” RNC Br. at 57. But no

decision by this Court could have any effect on the 2023 election.

     The District Court’s order in this case specifically required three

counties to count certain ballots from the 2022 election, and declared that

failing to count ballots based on dating errors violated § 10101(a)(2)(B).

App. 6. But it did not order any county to take any specific action with

respect to the 2023 election. When the District Court issued its order,

some counties had completed certification of that election while others

had not. Of the latter, some—including some that had been dismissed

from this case—counted mail ballots that were returned without a date

error.

     Thus, which ballots were counted for 2023 was a result of each

board’s decision. No one argues that those boards that chose to count

ballots with date errors violated federal law. And the way to challenge

those counties’ decisions on the basis that they violated state law under

25 P.S. § 3157.




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     Further, even if a decision from this Court could affect the 2023

election, Purcell still would have no application.13

     Purcell embodies an equitable interest in pre-election judicial

restraint to avoid disrupting the efforts of election administrators or

imposing hardship or confusion on voters. Democratic Nat’l Comm. v.

Wisconsin State Legislature, 141 S. Ct. 28, 30-32 (2020) (Kavanaugh, J.,

concurring); Republican Nat’l Comm. v. Democratic Nat’l Comm., 140 S.

Ct. 1205, 1207 (2020).

     The District Court’s decision here did not change pre-election rules.

It imposed no new obligations on voters, but simply allowed for the

counting of votes cast by legal voters. Voters who dated the return-

envelope declaration, like all other voters, were not harmed by the

counting of ballots returned by qualified voters. Bognet v. Sec’y

Commonwealth of Pa., 980 F.3d 336, 356-60 (3d Cir. 2020), vacated as

moot by Bognet v. Degraffenreid, 141 S. Ct. 2508 (2021); Wood v.

Raffensperger, 981 F.3d 1307, 1314-15 (11th Cir. 2020); Toth v.




     13 Nor can the RNC’s invocation of the equitable principles behind

Purcell be taken seriously in this context given the timing of its Ball
action. Supra at 11-14.

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Chapman, No. 22-208, 2022 WL 821175, at *7 (M.D. Pa. Mar. 16, 2022)

(three-judge court).

     Decisions about whether certain ballots are counted is a normal

post-election occurrence that happens after every election and is

expressly   contemplated     by   the       Election     Code.     See    25    P.S.

§§ 3050(a.4)(4)(v), 3157. In fact, counties were already segregating

ballots with declaration date errors and were prepared to implement

instructions about how to handle such ballots. Purcell simply has no

relevance to this case.

III. Certification of Mr. Marino’s Election Has No Effect on this
     Court’s Jurisdiction

     Finally, Montgomery County’s certification of the results of Mr.

Marino’s race has no bearing on this Court’s jurisdiction, because this

appeal never had anything to do with Mr. Marino’s election.

     Montgomery County was among the counties that had not certified

its 2023 election results when the District Court issued its decision and

that subsequently counted ballots with date errors on the return

envelope. For reasons described in the preceding section, no resolution of

this appeal can reverse Montgomery County’s decision.




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     Mr. Marino’s opportunity to challenge Montgomery County’s

decision lay in state court, under the procedures set forth in the Election

Code. See 25 P.S. § 3157. He did not avail himself of this option.

     The untimely election contest filed by supporters of Mr. Marino was

dismissed. Supra at 18-19.14 On appeal of that decision, the

Commonwealth Court denied a motion to enjoin Mr. Marino’s opponent

from taking office, finding that the petitioning voters had inexcusably

missed the filing deadline and thus were not likely to prevail in their

appeal. Supra at 19. As a result, Mr. Marino’s opponent, like other

victorious candidates in the 2023 election, was sworn into office on

January 2. Id.

                             CONCLUSION

     The facts of this case are comfortably captured by the plain

meaning of 52 U.S.C. § 10101(a)(2)(B). The Court should not indulge any

of the various reasons the RNC furnishes for ignoring what the statute

says. Accordingly, the District Court should be affirmed.



     14 Although the RNC claims the District Court’s decision was the

basis for dismissing the election contest, RNC Br. at 67, a week before
the RNC filed its brief here, the Court of Common Pleas issued an opinion
explaining that the contest was dismissed as untimely.


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                       CERTIFICATES

I, Jacob B. Boyer, certify that:

1.   I am a member of the bar of this Court in good standing;

2.   Malwarebytes Premium was run on this file and no virus

     was detected;

3.   The text of this brief is identical to the text in paper copies

     that will be filed with the Court; and

4.   This response contains 12,602 words and therefore complies

     with Federal Rule of Appellate Procedure 32(a)(7)(b)(i). In

     making this certificate, I have relied on the word count of

     the word-processing system used to prepare the brief.



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                      CERTIFICATE OF SERVICE

     I, Jacob B. Boyer, hereby certify that a copy of this response has

been served on all counsel of record using the Court’s CM/ECF system.



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